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November 17, 2022

The Honorable J. Mark Coulson
United States Magistrate Judge
101 West Lombard Street
Chambers 8D
Baltimore, MD 21201

       Re: Gov’t Employees Health Ass’n v. Actelion Pharms. Ltd. et al., No. 18-cv-3560-GLR

       Dear Magistrate Judge Coulson:

        We submit this joint letter on behalf of the parties to the above-captioned case. As set forth
in Plaintiff’s November 3, 2022 Status Report (Dkt. No. 189 at 2), Plaintiff intends to move for
spoliation-related sanctions in connection with certain of Defendants’ actions during the pendency
of this case. Defendants intend to oppose the motion and relief sought. The parties have agreed
upon a schedule for briefing to be submitted to Your Honor, which we respectfully request that
the Court “So Order.”

                       Motion:         November 21, 2022
                       Opposition:     December 15, 2022
                       Reply:          December 29, 2022

Defendants reserve the right to seek leave to file a timely sur-reply. Plaintiff reserves the right to
oppose such an application.

               We appreciate the Court’s continued attention to this matter.

                                       Sincerely,


       /s/ Sharon K. Robertson                                /s/ George G. Gordon
       Sharon K. Robertson                                    George G. Gordon

       Co-Lead Counsel for Plaintiff                          Counsel for Defendants
       and the Proposed Class




       Date:
                                               _______________________________
                                               UNITED STATES MAGISTRATE JUDGE
